     Case 8:21-cr-00041-JVS Document 23 Filed 01/05/22 Page 1 of 13 Page ID #:125




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 7
 8
 9                              UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
11                                   SOUTHERN DIVISION
12
13     UNITED STATES OF AMERICA,                    Case No. 21-CR-00041-JVS
14                 Plaintiff,
                                                    D EFENDANT ’ S P ARTIAL O PPOSITION
15           v.                                     T O G OVERNMENT ’ S E X P ARTE
                                                    A PPLICATION F OR A P ROTECTIVE
16     EDWARD KIM,                                  O RDER REGARDING DISCOVERY
                                                    CONTAINING PERSONAL IDENTIFYING
17                 Defendant.                       INFORMATION

18
19           Defendant Edward Kim, by and through his counsel, Deputy Federal Public
20     Defender Jonathan K. Ogata, files this partial opposition to the government’s ex parte
21     application for a protective order regarding discovery.    Also filed herewith is an
22     alternative proposed form of a protective order reflecting Mr. Kim’s proposed
23     modifications to the government’s proposed protective order.
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     Case 8:21-cr-00041-JVS Document 23 Filed 01/05/22 Page 2 of 13 Page ID #:126

                                                          TABLE OF CONTENTS
                                                                                                                                                          Page
 1
 2     I.     INTRODUCTION ..................................................................................................................................... 1

 3     II.    THE GOVERNMENT SHOULD NOT BE PERMITTED TO REDACT PII FROM
              CONFIDENTIAL INFORMATION PRODUCED PURSUANT TO THE PROTECTIVE ORDER ..... 2
 4
       III.   THE COURT SHOULD REJECT THE PROPOSED REQUIREMENT THAT MR. KIM
 5            OBTAIN HIS ADVERSARY’S WRITTEN PERMISSION BEFORE COMMUNICATING
              WITH MEMBERS OF HIS DEFENSE TEAM. ....................................................................................... 3
 6
       IV.    REQUIRING WITNESSES TO SIGN THE PROTECTIVE ORDER IS UNNECESSARY AND
 7            WILL UNDULY HINDER THE DEFENSE; A VERBAL AGREEMENT IS SUFFICIENT. ............... 7

 8     V.     PARAGRAPH 6(O) IS A CONVOLUTED AND REQUIREMENT WITH A PUZZLING
              RESULT AND SHOULD BE STRICKEN. ............................................................................................. 9
 9
       VI.    CONCLUSION ....................................................................................................................................... 10
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                                    i
     Case 8:21-cr-00041-JVS Document 23 Filed 01/05/22 Page 3 of 13 Page ID #:127

                                                        TABLE OF AUTHORITIES
                                                                                                                                                   Page(s)
 1     Federal Cases
 2     United States v. Albertson, No. 18-cr-712-DMG ................................................................................................... 8
       United States v. Barrow, No. 20-cr-563-VAP ........................................................................................................ 8
 3
       United States v. Cisneros, No. 18-cr-875-JAK ...................................................................................................... 8
 4
       United States v. Danielson, 325 F.3d 1054, 1066 (9th Cir. 2003) ......................................................................... 4
 5     United States v. Ellis-Strong, 20-cr-486-FMO ....................................................................................................... 8
 6     United States v. Garcia, 20-CR-225-DSF .............................................................................................................. 8
       United States v. Triefenbach, No. 21-133-JVS, ECF No. 31 (C.D. Cal. Dec. 13, 2021) ................................... 1, 8
 7
       United States v. Walsh, No. 21-cr-68-SB ............................................................................................................... 8
 8     United States v. Zavala, No. 19-cr-676-FMO ........................................................................................................ 8
 9
       United States Supreme Court Case
10     Hickman v. Taylor, 329 U.S. 495, 510 (1947)........................................................................................................ 6
11     District Court Cases
12     Martinez v. Procunier, 354 F. Supp. 1092, 1098 (N.D. Cal. 1973) ....................................................................... 6
       Sonza v. Travisono, 368 F. Supp. 959 (D.R.I. 1973).............................................................................................. 5
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                                    ii
     Case 8:21-cr-00041-JVS Document 23 Filed 01/05/22 Page 4 of 13 Page ID #:128




 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2     I.    INTRODUCTION
 3           The defense recognizes and generally does not object to the appropriateness of a
 4     protective order in this case. But any protective order must balance Mr. Kim’s right to
 5     due process against any risk surrounding disclosure of protected materials.           The
 6     government’s proposed protective order in this case runs afoul of this balance, creating
 7     a cumbersome and unduly burdensome structure for dealing with sensitive information.
 8     In order to remedy this imbalance the defense objects to several of the terms contained
 9     in the protective order advanced by the government and proposes the attached modified
10     version of the protective order. Specifically, the defense objects to 1) the proposed
11     provision permitting redaction of Personal Identifying Information (“PII”) within
12     material already governed by protective order; 2) the unnecessary requirement that Mr.
13     Kim may only review Confidential Information (“CI”) in the presence of defense counsel
14     or members of the defense team pre-cleared by the government in writing; 3) the
15     requirement that any witnesses shown CI agree in writing to be bound by the terms of
16     the protective order, as opposed to simple verbal agreement; 4) the unclear and serpentine
17     process of redaction for publicly filed materials; and 5) the requirement that CI materials
18     be destroyed within 30 days of the conclusion of proceedings or returned to the
19     government, as opposed to being maintained by counsel in accordance with the
20     California Rules of Professional Conduct.
21           Indeed, on December 13, 2021, this Court recognized the imbalance many of these
22     provisions create and declined to include them in the Court’s protective order. See United
23     States v. Triefenbach, No. 21-133-JVS, ECF No. 31 (C.D. Cal. Dec. 13, 2021). The
24     Court’s protective order did not include 1) the provision permitting government
25     redaction of PII within material already governed by the protective order, 2) the
26     unnecessary requirement that the defendant only review CI in the presence of defense
27     counsel or an approved member of the defense team, 3) that any witness shown CI agree
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     Case 8:21-cr-00041-JVS Document 23 Filed 01/05/22 Page 5 of 13 Page ID #:129




 1     in writing to be bound by the protective order, and 4) the requirement that CI material be
 2     destroyed within 30 days of the conclusion of proceedings or returned to the government.
 3     Id. The Court should do the same here with the additional modification governing
 4     publicly filed material outlined below.
 5     II.   THE GOVERNMENT SHOULD NOT BE P ERMITTED TO R EDACT PII FROM
 6           CONFIDENTIAL I NFORMATION P RODUCED PURSUANT TO THE P ROTECTIVE
 7           ORDER
 8           The entire purpose of this protective order is to allow the defense to have
 9     unredacted copies of materials that contain PII and CI—discovery that the government
10     acknowledges is necessary to the defense, and for which it claims redaction is not
11     practicable. The protective order fully restricts anyone but defense team members from
12     having possession of materials and information produced pursuant to the order. Yet the
13     government nonetheless seeks to retain the ability to redact PII from discovery produced
14     pursuant to the protective order. See Gov’t Ex Parte Appl. 10–11. The government offers
15     two reasons for the supererogatory redaction requirement:        a) the need to protect
16     confidential information, and b) the government’s inclination to redact information it
17     unilaterally deems irrelevant. Id.
18           The terms of the order itself already prevent the defense team from disseminating
19     any of the protected materials to anyone outside the defense team, including Mr. Kim.
20     Neither he (nor any witnesses to whom the defense team might show the protected
21     discovery) is authorized to retain any CI, or even to retain notes relating to the CI.
22     Therefore, the only conceivable reason for redacting PII from the protected discovery
23     would be if the government does not trust the defense team to follow its obligations under
24     the protective order, which by its very terms renders redactions unnecessary. Again, the
25     government has no reason to believe that the defense will not follow the terms of the
26     order. Defense counsel is an officer of the Court with experience handling and reviewing
27     such materials, and his team members have extensive experience doing so as well.
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     Case 8:21-cr-00041-JVS Document 23 Filed 01/05/22 Page 6 of 13 Page ID #:130




 1     Allowing the government to redact PII from a protective order designed to allow the safe
 2     production of PII will do nothing but lead to additional litigation, as the defense seeks
 3     access to the redacted information. It will create no additional protection for the
 4     government, but it certainly will create additional, unnecessary burdens for the defense
 5     and the Court. The Court should strike this language from the protective order.
 6            Furthermore, the marginal benefits that would supposedly flow from this
 7     restriction are nugatory. Counsel, his team, and Mr. Kim are already bound by the terms
 8     of the order to keep CI confidential, and the information disclosed within the CI is likely
 9     to be highly sensitive. The order itself is designed to mitigate the risk of unauthorized
10     disclosure. It is therefore a non sequitur to observe, as in the government’s first offered
11     justification, that the material sought to be redacted is sensitive. And, as to the
12     government’s last offered reason—irrelevance—the government ought not to be the sole
13     arbiter of relevance when the supposedly irrelevant material a) may be relevant and b)
14     will be governed by the strict terms of the protective order.
15     III.   THE COURT SHOULD R EJECT THE PROPOSED R EQUIREMENT THAT M R.
16            KIM OBTAIN HIS ADVERSARY’ S W RITTEN P ERMISSION BEFORE
17            COMMUNICATING WITH MEMBERS OF H IS D EFENSE T EAM .
18            The government’s unduly and needlessly complicated regime for the handling of
19     confidential information comes to a head in sections 6(i) and 6(j). As the government
20     notes, these sections discuss the defendant’s access to two types of confidential
21     information—(1) CI and (2) PII. Gov’t Ex Parte Appl. 11-12. Defendant may review
22     PII in the presence of anyone on the defense team. ECF No. 22-1 ¶ 6 (a). This makes
23     sense and strikes the proper balance between protection of confidential information and
24     Mr. Kim’s rights as a defendant. However, the government disrupts this balance when
25     it creates the novel requirement in paragraph 6(i), which requires government written
26     approval of individuals on the defense team to review CI material with Mr. Kim. Id. at
27     ¶ 6(i). Mr. Defendant’s access should be the same for PII and CI—allowing Mr. Kim to
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     Case 8:21-cr-00041-JVS Document 23 Filed 01/05/22 Page 7 of 13 Page ID #:131




 1     review the confidential information with either defense counsel or a member of the
 2     defense team, regardless of the government’s arbitrary approval of that member.
 3           The proposed order states:
 4           If defense counsel wishes to enable defendant to review CI Materials in the
 5           presence of any person on the Defense Team other than defense counsel,
 6           defense counsel shall submit a letter to government counsel of record
 7           identifying that person (the “designated person”), and shall submit a copy
 8           of this stipulation that has been signed by that designated person. Upon
 9           receipt of those materials, if the government, in its sole discretion, finds the
10           designated person acceptable, prior to the designated person reviewing any
11           CI Materials with defendant, government counsel of record will confirm in
12           writing that defendant is additionally allowed to review CI Materials in the
13           presence of the designated person.
14     Proposed Protective Order, ECF No. 22-1, ¶ 6(i). If entered as written, this provision
15     would require Mr. Kim to seek his adversary’s permission in order to review key
16     discovery. The government, in its sole discretion, for any reason or no reason, could
17     prevent Mr. Kim from reviewing discovery with other members of the “defense team,”
18     which the protective order defines as other attorneys in the Office of the Federal Public
19     Defender, experts, investigators, paralegals, and support staff. Id. ¶ 6(d).
20           While Mr. Kim appreciates the government’s interest in protecting sensitive
21     information, the “very premise of our adversary system of criminal justice is that partisan
22     advocacy on both sides of a case will best promote the ultimate objective that the guilty
23     be convicted and the innocent go free.” United States v. Danielson, 325 F.3d 1054, 1066
24     (9th Cir. 2003) (quoting United States v. Cronic, 466 U.S. 648, 655 (1984)). A provision
25     that gives the prosecutor arbitrary control over which members of the Office of the
26     Federal Public Defender can work on a particular case is not only unnecessary, it is
27     anathema to the adversarial system.
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     Case 8:21-cr-00041-JVS Document 23 Filed 01/05/22 Page 8 of 13 Page ID #:132




 1           Additionally, the wholesale delegation to the government of “sole discretion” over
 2     which members of the defense team is “acceptable” for a given task is contrary to the
 3     Sixth Amendment. For example, in Sonza v. Travisono, 368 F. Supp. 959 (D.R.I. 1973),
 4     aff’d, 498 F.2d 1120 (1st Cir. 1974), the court held that a prison policy prohibiting
 5     inmates from meeting with law students violated inmates’ due process right to effective
 6     access to the courts. In support of its holding, the court highlighted the Sixth Amendment
 7     concerns arising from limitations on defense counsel’s use, and choice, of agents:
 8           In circumstances in which a prisoner’s Sixth Amendment right to counsel is
 9           involved, not only must an attorney be given the broadest possible
10           opportunity to meet and confer with his inmate client but the same right as
11           of necessity filters down to his para-legal assistants. And the right to select
12           such assistant rests with the attorney and not the prison officials. If this
13           were not so it could seriously impair the inmate’s Sixth Amendment right. .
14           . . The alter ego status of para-professionals parallels that of the principal
15           whether it be in the exercise of due process access of the court of the
16           fundamental right to the counsel.
17     Id. at 970–71.
18           The government may argue that if defense counsel wishes to avoid some of the
19     above concerns, counsel may be personally present if and when the need arises for Mr.
20     Kim to review CI materials with a member of the defense team. But this imposes on
21     defense counsel the burdensome obligation of being present for CI discovery review,
22     even when counsel’s presence is unnecessary. This, too, raises Sixth Amendment
23     concerns, as well as concerns with respect to Mr. Apodaca’s due process right to access
24     of the courts. Unnecessary time spent by counsel during CI discovery review (solely for
25     purposes of complying with the protective order) detracts from time that could be better
26     used preparing other aspects of Mr. Kim’s defense. As one court explained:
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28     ///
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     Case 8:21-cr-00041-JVS Document 23 Filed 01/05/22 Page 9 of 13 Page ID #:133




 1           If attorneys of record must interview their clients personally . . . the time
 2           spent travelling would necessarily prohibit them from spending as much
 3           time working on legal problems.
 4           Conversely, if attorneys can send assistants with detailed instructions to
 5           interview inmates, they will have more time available to evaluate the
 6           contentions raised and prepare the necessary legal documents. It follows
 7           that each inmate-client will receive better legal assistance, thus facilitating
 8           his access to the courts. Moreover, attorneys would have more time to serve
 9           additional clients who might otherwise have to rely on jailhouse lawyers.
10           The potential benefits to inmates, attorneys and the courts from permitting
11           attorneys to send law students or other paraprofessionals to interview
12           inmates are obvious.
13     Martinez v. Procunier, 354 F. Supp. 1092, 1098 (N.D. Cal. 1973), aff’d, 416 U.S. 396
14     (1974).
15           Furthermore, members of the defense team that work for the Office of the Federal
16     Public Defender are federal employees just like members of the United States Attorney’s
17     Office. The defense team includes investigators, assistants, and other staff with the Office
18     of the Federal Public Defender (as well as experts). It makes no sense that another branch
19     of the federal government (i.e., the Judiciary) would not be trusted with this information
20     while defense counsel, who works for the same branch, would be. In order for the
21     defense to be able to provide adequate representation, it is essential that it maintains its
22     autonomy from the government. The government has no legitimate need in monitoring
23     when and how the Office of the Federal Public Defender, and supporting staff acting
24     under the direction of an officer of the Court, chooses to provide Mr. Kim representation.
25     See Hickman v. Taylor, 329 U.S. 495, 510 (1947) (“In performing his various duties . . .
26     it is essential that a lawyer work with a certain degree of privacy, free from unnecessary
27     intrusion by opposing parties and their counsel”).
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 Case 8:21-cr-00041-JVS Document 23 Filed 01/05/22 Page 10 of 13 Page ID #:134




 1          Finally, Mr. Kim disagrees with the government’s assertion that “[the] procedure
 2   [proposed] places minimal burden on defense counsel.” Gov’t’s Ex Parte Appl. 13.
 3   Given the extensive allegation in the complaint that likely require disclosure of sensitive
 4   material there is likely significant amounts of protected discovery yet to be produced by
 5   the government. Mr. Kim accordingly believes a large volume of discovery will be
 6   produced under the protective order, making all the greater counsel’s need for autonomy
 7   in litigating this case.
 8   IV.    REQUIRING WITNESSES TO SIGN THE PROTECTIVE O RDER IS
 9          UNNECESSARY AND WILL UNDULY HINDER THE DEFENSE; A V ERBAL
10          AGREEMENT IS S UFFICIENT .
11          The defense objects to the proposed “in writing” requirement for witnesses at
12   paragraph 6(l) of the government’s proposed order because it hampers the defense’s
13   ability to investigate and provide effective representation. This is not a minimal burden
14   in the context of counsel’s duty; rather it hinders the defense’s ability to investigate. The
15   defense has no objection to the defense team advising the witness of the existence of the
16   protective order, and maintaining custody and control of confidential informant
17   information when working with witnesses.
18          Attempting to speak with a witness can often be a delicate, one-shot opportunity,
19   where a witness may or may not agree to discuss the case. The defense team does not
20   have the persuasive authority of a law enforcement badge as do the government’s agents.
21   A witness may be dissuaded or intimidated by being asked to sign a federal court order.
22   Defense counsel should not be forced into the position of potentially being asked to give
23   legal advice to a witness, whom that counsel does not represent, about the legal
24   ramifications of the document defense counsel would have to ask them to sign.
25          Notably, the proposed protective order does not limit the government’s paralegals,
26   legal assistants, and agents as to how they are able to work with confidential information
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 Case 8:21-cr-00041-JVS Document 23 Filed 01/05/22 Page 11 of 13 Page ID #:135




 1   with witnesses or in any other aspect. The defense should not be subject to any greater
 2   burden than the prosecution.
 3         The government puzzlingly claims that “[a]n oral agreement to abide by a
 4   Protective Order is virtually unenforceable, thereby functionally obviating the
 5   protections that are necessary to protect the safety of a confidential source in the first
 6   place.” Gov’t’s Ex Part Appl. 14. By implication, the government believes a requirement
 7   that potential witnesses assent in writing makes the protective order more enforceable.
 8   Yet any written record obtained or created by the defense would be protected by the work
 9   product privilege. The proposed requirement therefore represents no marginal gain in
10   enforceability, but instead a potentially major loss to Mr. Kim’s ability to investigate his
11   case. Further, an “in writing” requirement is unnecessary as the witness would never
12   actually have the protected material in his or her possession because the defense team
13   would be bound by the remaining terms of the protective order not to actually give the
14   material to the witness.
15         Courts in this district, including this Court, have recognized that the disputed
16   language can be replaced with a less restrictive, but still protective, requirement that the
17   witness be advised of the terms of the protective order and agree orally to abide it. The
18   disputed language has appropriately been stricken or modified in other cases in this
19   District. See, e.g., United States v. Triefenbach, No. 21-133-JVS (C.D. Cal. Dec. 13,
20   2021); United States v. Barrow, No. 20-cr-563-VAP, ECF No. 42 (C.D. Cal. May 15,
21   2021); United States v. Ellis-Strong, 20-cr-486-FMO, ECF No. 75 (C.D. Cal. June 25,
22   2021); United States v. Zavala, No. 19-cr-676-FMO, ECF No. 27 (C.D. Cal. Apr. 7,
23   2020); United States v. Albertson, No. 18-cr-712-DMG, ECF No. 24 (C.D. Cal. Sept. 3,
24   2019); United States v. Cisneros, No. 18-cr-875-JAK, ECF No. 22 (C.D. Cal. Mar. 13,
25   2019); United States v. Walsh, No. 21-cr-68-SB, ECF No. 28 (C.D. Cal. Apr. 29, 2021);
26   United States v. Garcia, 20-CR-225-DSF, ECF Nos. 36, 44, 45, 53, 55, 57, 58 .
27         Mr. Kim respectfully proposes that the Court amend paragraph 6(l) of the proposed
28   protective order to require that the defense team advise any witness of the terms of the
                                                   8
 Case 8:21-cr-00041-JVS Document 23 Filed 01/05/22 Page 12 of 13 Page ID #:136




 1   protective order and obtain the witness’s verbal agreement before being shown any
 2   protected material, without burdening the defense team to procure a writing.
 3   V.    PARAGRAPH 6(O) IS A CONVOLUTED AND R EQUIREMENT WITH A PUZZLING
 4         RESULT AND SHOULD BE STRICKEN.
 5         Paragraph 6(o) outlines the following perplexing process “in the event that a party
 6   needs to file Confidential Information with Court or…in [a] court filing:” (1) the party
 7   need make the filing under seal; (2) if sealing is rejected by court, the party must provide
 8   advance written notice to the other party to allow the other party to object or respond; (3)
 9   if the other party does not object, the filing party must still redact the confidential
10   information and make all reasonable attempts not to divulge the confidential information.
11   ECF No. 22-1 ¶ 6(o). The perplexing nature of this paragraph becomes clear at step
12   three, where regardless of whether a party objects or does not object, the result is the
13   redaction of confidential information and a requirement to make all reasonable attempts
14   not to disclose confidential information. This begs the question: what happens when the
15   other party does object? Does that party get some relief greater than redaction? The
16   answer is no—redaction is the ultimate remedy and the government’s language mandates
17   it regardless of objection.
18         This paragraph is a serpentine one, where the government has created a meet and
19   confer requirement at step two, with a predetermined result at step three—redaction. This
20   functionally makes meaningless the entire second step of the process, for what is the
21   point of meeting and conferring if the information will, in the end, be redacted? Though
22   it is unclear why this section is composed in this tortuous manner, what is clear is that it
23   need not be so. Rather, the defense proposes the following language, as outlined in the
24   defense proposed protective order attached:
25         Absent prior agreement by the parties or permission from the Court, no party
26         shall disclose confidential information in any public filing with the Court.
27         Such materials shall be submitted under seal in accordance with Local Rule
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 Case 8:21-cr-00041-JVS Document 23 Filed 01/05/22 Page 13 of 13 Page ID #:137




 1         79-5.1. The Clerk of Court shall accept for filing under seal any filings
 2         made in compliance with that Rule and so marked by the parties pursuant to
 3         this Order.
 4         Defense Proposed Protective Order at ¶ 6(n).
 5   VI.   CONCLUSION
 6   For the foregoing reasons, the Court should modify the proposed protective order
 7   consistent with the objections raised by the defense. As noted above, Mr. Kim has
 8   included with his opposition a proposed alternative version of the protective order,
 9   modified in conformity with Mr. Kim’s objections to the government’s positions, as
10   recounted herein.
11
                                            Respectfully submitted,
12
                                            CUAUHTEMOC ORTEGA
13                                          Federal Public Defender
14
15   DATED: January 5, 2022             By /s/ Jonathan K. Ogata
16                                        Jonathan K. Ogata
                                          Deputy Federal Public Defender
17                                        Attorney for Edward Kim

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